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                            SO U TH ER N D IST RIC T O F FL O R ID A

                       C ase N o.17-80774-M lD DL EBRO O K Sœ M NN O N

  M IG UEL CH AN G ,

        Plaintiff,



  YO K OH A M A SU SH IIN C.,

        Defendant.
                                                     /

  O RD ER R EJEC TIN G JO IN T STIPULA TIO N O F D ISM ISSAL W ITH O U T PR EJU DICE

        THIS CAU SE com esbefore the Courtupon the Parties'Joint Stipulation ofDismissal

  W ithoutPrejudice (çtstipulation''),filed September5,2017. (DE 22). Plaintiffinitiated this
  action on June 27, 2017, alleging violations of the overtim e provisions of the Fair Labor

  StandardsAct,29U.S.C.j201etseq.($1FLSA''). ThePartiesnow seek adismissalofthiscase
  advising the Courtthat they wish to continue settlementdiscussions ûtwithoutthe pressure of

  courtdeadlinesandscheduled events.''(DE 22).
         W hen aprivate action isbroughtundertheFLSA and issubsequently settled,tithedistrict

  courtmay enter a stipulated judgmentafter scrutinizing the settlementfor fairness.'' Lynn'
                                                                                           s
  Food Stores,Inc.v. United States,679 F.2d 1350,1353 (11th Cir.1982) (internalcitations
  omitted). Here,thePartieshavenotsubmitted asettlementagreemcntforthisCourtto review.
  Consequently,this Courtcannotbe satisfied thatany settlem entbetween the Parties is fairand

  reasonable. A ccordingly, this Court w ill not dism iss this case. lf the Parties agree to any

  settlem ent, bargain, or other com prom ise resolving the Plaintiff s FLSA claim ,a copy of the
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  agreem ent must either be presented to the Secretary of Labor or scrutinized by this Courtfor

  fairness. Lynn '
                 s Food Stores,679 F.2d at1352-53. A ccordingly,itis hereby

        ORDERED AND ADJUDGED thatthe Stipulation (DE 22)is NOT APPROVED.
  This case willproceed to trialunlessthe Parties subm ita settlementagreementthatthis Court

  findsfairand reasonable.

         DO N E AN D O R DER ED in Cham bers at WestPal
                                                      m         Beac          'dathisV day of
                                                                          /
  October,2017.




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  Copiesto:     CounselofRecord




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